Case 1:17-Cr-00133-RC Document 1 Filed 07/05/17 Page 1 of 3

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2016

 

UNITED STATES OF AMERICA : CRIMINAL NO.
\ v. ` §
LUCERO'GUADALUPE SANCHEZ : 21 U.S.C. §§959(a), 960, and 963
LOPEZ, : (Conspiracy to Distn`bute Five Kilograms or
also known as . : More of Cocaine Knowing and Intending that,'
“Diputada,” “Maico,” : it will be Unlawfully Irnported into the United
“Piedra,” and “Tere,” : States.) 1
nefendant. ' : 18 U.s.c. § 2
' ' (Aiding and Abetting)
21U.S.C. §§ 853 and 970
(Forfeiture) -
INDICTMENT
The Grand Jury charges that:
COUNT ONE

From in or around 2013, and continuing to the date of the filing of this Indictment, in the
countries of Mexico, the United States and elsewhere, the Defendant, LUCERQ GUADALUPE
SANCHEZ LOPEZ, also known as “Diputada,” “Maico,"’ “Piedra,” and “Tere,” together
with` others, both known and unknown to the Grand Jury, did knowingly, intentionally, and
willfuliy conspire to distribute five (5) kilograms or more of a mixture and substance containing a t
detectable amount of cocaine, a Schedule II controlled substance knowing and intending that such

substances would be unlawfully imported into the United States from a place outside thereof, in

 

Case 1:17-Cr-00133-RC _Document 1 Filed 07/05/17 Page 2 of 3

violation of Title 21, United States Code, Section 95 9(a); all in violation of Title 21, United States
Code, Section 963 and Title 18, limited States Code, Section 2.

With respect to the Defendant, the controlled substances involved in the conspiracy
attributable to her as a result of her own conduct, and the conduct of other conspirators reasonably
foreseeable to her,‘is five (5] kilograms or more of a mixture and substance containing a detectable
amount of cocaine in violation of Title 21, United States Code, Section 960(b)(1)_(B).

(Conspiracy to Distribute Fi_ve Kilograms or More of Cocaine Knowing and

Intending that it would be Imported into the United States in violation of Title 21 ,
United States Code, Sections 959(a), 960 and 963, and Title 18, United States Code,

Section 2.)‘
FORFEITURE ALLEGATION
The United States hereby gives notice to the Defendant that upon conviction of the Title
21 offense alleged in Count One of this Indictrnent, the government will seek forfeiture in
\accordance With Title 21, United States'Code, Sections 853 and 970, of all property constituting
or derived from any proceeds the Defendant obtained directly or indirectly as a result of the alleged
Titie 21 violation, and all property used or intended to be used in any manner or part to commit
and to facilitate the commission of such offense.
If any of the above»described forfeitable property, as a result of any act or omission of the
Defendant:
(a) cannot be located upon the exercise of due diligence;
(b) has been transferred or sold to, or deposited with, a third person;
(c) has been placed beyond the jurisdiction of the Court;
(d) has been substantially diminished in value; or
(e) has been commingled With other property which cannot be subdivided

2

 

Case 1:17-Cr-00133-RC Document 1 Filed 07/05/17 Page 3 of 3

Without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 85 3(p) to

seek forfeiture of any other property of the said Defendant up'to."the value of the above forfeitable

property.

.(Criminal Forfeiture, in Violation of Title 21 , United States.Code, Section31853 and

970.)

By:

A TRUE BILL:

 

 

 

 

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Chief
Narcotic and Dangerous Drug Section

` U.S. Department of Justice

Washington, D.C. `20530
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AN;rHoNY J. NAnr)`o'zzr

Trial Attorney

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